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       hƩps://en.wikipedia.org/wiki/List_of_Qualcomm_Snapdragon_systems_on_chips#Snapdragon_800_series_(2013–
                                                         2021)
          https://www.qualcomm.com/products/mobile/snapdragon/smartphones/snapdragon-8-series-mobile-
                                 platforms/snapdragon-865-5g-mobile-platform




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a plurality of cache    A plurality of cache memory blocks exists in the L3 cache shared by all ARM cores in a DynamIQ cluster and
memory blocks;          partitioned into groups of 4 cache ways (blocks).




                                   Arm® DynamIQ™ Shared Unit, Revision r3p0, Technical Reference Manual, p. A1-20




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